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                              UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
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     JUAN MANUEL GUTIERREZ, an                 No. 5:18-cv-02035-JAK-SP
12   individual,
                                               JUDGMENT OF DISMISSAL
13
                Plaintiff,                     WITH PREJUDICE
14   v.
15
     NATIONSTAR MORTGAGE, LLC,;
16   CHAMPION MORTGAGE COMPANY;
     CHAMPION MORTGAGE COMPANY
17
     dba NATIONSTAR MORTGAGE; and
18   DOES 1 to 100,
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                Defendants.
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1          On October 22, 2021, the Court granted in part and denied in part Defendant’s
2    Motion to Reopen Case and Motion to Enforce Settlement Agreement. Dkts. 88, 89 (the
3    “Motions”). The Court granted the Motions insofar as they sought enforcement of the
4    parties’ settlement agreement, and denied the Motions insofar as they sought an award
5    of attorneys' fees.
6          On November 19, 2021, the Court ordered that Defendant submit a revised
7    proposed judgment reflecting the parties’ obligations under the settlement agreement.
8    Dkt. 93.
9          Based on a review of the Statement Regarding Judgment (Dkt. 94), the Court
10   orders as follows:
11      1. Based on the settlement agreement between Defendant Nationstar Mortgage LLC
12         dba Champion Mortgage Company and Plaintiff Juan Gutierrez, this matter is
13         resolved in its entirety. The claims brought by Plaintiff against Defendant are
14         dismissed with prejudice.
15      2. Upon entry of this judgment, Defendant will pay to Plaintiff’s counsel the amounts
16         listed in paragraph 2 of the settlement agreement.
17      3. Upon entry of this judgment, Defendant shall release the security instrument, as
18         that term is defined in the settlement agreement and pursuant to paragraph 4 of the
19         settlement agreement.
20      4. Each party is responsible for its own attorneys’ fees and costs incurred in the
21         prosecution or defense of this litigation.
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